                          IN THE UNITED STATES COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
     Plaintiff,                                    )
                                                   )
        VS.                                        )           NO. 18-00293-CR-W-DGK
                                                   )
LEEANNA SCHROEDER                                  )
     Defendant.                                    )
                                                   )

                              MOTION TO WITHDRAW
                        OBJECTION TO CONTINUANCE (DOC. 409)


        Defendant Leeanna Schroeder, through counsel, notifies the Court that she withdraws her

motion in opposition to a trial continuance and any request for a trial severance at this time. (Doc.

409).


                                               Respectfully submitted,


                                               /S/ CYNTHIA M. DODGE

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                             CERTIFICATE REGARDING SERVICE

I hereby certify that it is my belief and understanding that counsel for plaintiff, and counsel for
the co-defendants in this matter are participants in the Court’s CM/ECF program and that
separate service of the foregoing document is not required beyond the Notification of Electronic
Filing to be forwarded on January 20, 2021 upon the filing of the foregoing document.

/s/ Cynthia M. Dodge
CYNTHIA M. DODGE



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